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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                         )
             In re:                                                      )    Chapter 11
                                                                         )
             FTX TRADING LTD., et al.,1                                  )    Case No. 22-11068 (JTD)
                                                                         )
                             Debtors.                                    )    (Jointly Administered)
                                                                         )
                                                                         )     Objection Deadline:
                                                                         )     April 1, 2024 at 4:00 p.m. (ET)

                    SUMMARY OF FOURTEENTH MONTHLY FEE APPLICATION OF
                   YOUNG CONAWAY STARGATT & TAYLOR, LLP, AS CO-COUNSEL
                    FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
              FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
                FOR THE PERIOD FROM JANUARY 1, 2024 THROUGH JANUARY 31, 2024

         Name of Applicant:                                              Young Conaway Stargatt & Taylor, LLP

         Authorized to Provide Professional Services to:                 the Official Committee of Unsecured Creditors

         Date of Retention:                                              Order entered February 8, 2023
                                                                         (Effective as of December 22, 2022) [D.I. 657]
         Period for which compensation and
         reimbursement is sought:                                        January 1, 2024 through and including January 31,
                                                                         2024
         Amount of Compensation sought as
         actual, reasonable and necessary:                               $113,168.50
         Amount of Expense Reimbursement sought
         as actual, reasonable and necessary:                            $189.90

         This is an: X interim               final application

         This application includes 2.50 hours and $1,752.50 in fees incurred in connection with the preparation
         of Fee Applications.




         1
           The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor entities
         in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax identification numbers
         is not provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
         noticing agent at https://cases.ra.kroll.com/FTX.
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         Prior applications:
                                                 Requested ($)                        Approved ($)
              Date Filed /      Period         Fees       Expenses         Fees        Expenses         Order
              Docket No.       Covered                                                                 Entered
                3/2/21         12/22/22-   $69,585.50     $66.20                                       D.I. 1794
               D.I. 766        12/31/22
                3/16/23        1/1/23-     $249,940.50   $1,462.30                                     D.I. 1794
               D.I. 1086       1/31/23
             1st Interim Fee               $319,526.00   $1,528.50     $308,342.59     $1,380.01       D.I. 1794
              Application2
                4/17/23        2/1/23-     $286,744.00   $2,183.44                                     D.I. 2506
               D.I. 1301       2/28/23
                5/31/23        3/1/23-     $202,126.00   $1,460.59                                     D.I. 2506
               D.I. 1551       3/31/23
                6/12/23        4/1/23-     $95,653.00     $676.11                                      D.I. 2506
               D.I. 1619       4/30/23
             2nd Interim Fee               $584,523.00   $4,320.14     $578,135.85     $3,216.45       D.I. 2506
              Application3
                7/24/23        5/1/23-     $105,089.50    $840.80                                      D.I. 4622
               D.I. 1899       5/31/23
                8/28/23        6/1/23-     $138,286.50   $2,761.96                                     D.I. 4622
               D.I. 2255       6/30/23
                9/13/23        7/1/23-     $148,101.00   $1,331.09                                     D.I. 4622
               D.I. 2499       7/31/23
             3rd Interim Fee               $391,477.00   $4,933.85     $380,100.70     $4,810.15       D.I. 4622
              Application4
               10/30/23        8/1/23-     $150,757.00    $286.26        Pending        Pending
               D.I. 3412       8/31/23
               11/27/23        9/1/23-     $126,889.50    $721.37        Pending        Pending
               D.I. 4123       9/30/23
               12/12/23        10/1/23-    $116,056.00   $1,120.98       Pending        Pending
               D.I. 4653       10/31/23




         2
           Young Conaway agreed with the Fee Examiner to reduce Young Conaway’s fees by $11,183.41 and expenses by
         $148.49.
         3
            Young Conaway agreed with the Fee Examiner to reduce Young Conaway’s fees by $6,387.15 and expenses by
         $1,103.69.
         4
           Young Conaway agreed with the Fee Examiner to reduce Young Conaway’s fees by $11,376.30 and expenses by
         $123.70.
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              1/25/24       11/1/23-   $69,503.00   $292.35       Pending        Pending
             D.I. 6654      11/30/23
              2/21/24       12/1/23-   $80,956.00   $281.30       Pending        Pending
             D.I. 7730      12/31/23




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                                      COMPENSATION BY INDIVIDUAL

              Name                  Position, Number of Years         Hourly       Total        Total
                                    in that Position, Prior           Billing      Billed    Compensation
                                    Relevant Experience, Year          Rate        Hours
                                    of Obtaining License to
                                    Practice
              Matthew B. Lunn        Partner since 2010. Joined       $1,110.00      37.80      $41,958.00
                                     firm as an associate in 2001.
                                     Member of the DE Bar since
                                     2001 and NY Bar since 2009.
              Robert F. Poppiti      Partner since 2018. Joined        $985.00       63.60      $62,646.00
                                     firm as an associate in 2007.
                                     Member of the DE Bar since
                                     2007 and NY Bar since 2015.
              Jared Kochenash        Joined firm as an associate in    $630.00        2.90       $1,827.00
                                     2018. Member of the DE Bar
                                     since 2018.
              Debbie Laskin          Paralegal                         $385.00       10.00       $3,850.00
              Jorge Martinez         Paralegal                         $375.00        7.70       $2,887.50
             Grand Total:                                                           122.00     $113,168.50
             Blended Rate for All Timekeepers:                         $813

         *The hourly billing rates for Young Conaway Stargatt & Taylor, LLP (“Young Conaway”) set forth
         herein for the fee period are Young Conaway’s rates for 2024. As reflected in the Notice of Annual
         Rate Increase of Young Conaway Stargatt & Taylor, LLP [D.I. 5220], Young Conaway’s hourly rates
         were revised effective January 1, 2024.




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         COMPENSATION BY PROJECT CATEGORY
                       Project Category                                  Total Hours     Total Fees
         Case Administration (B001)                                             11.60         $5,055.50
         Court Hearings (B002)                                                  28.00     $27,682.50
         Lease/Executory Contract Issues (B005)                                  0.30          $115.50
         Use, Sale or Lease of Property (B006)                                  17.50     $17,700.00
         Claims Analysis, Objections & Resolutions (B007)                        5.90         $5,621.00
         Meetings (B008)                                                        15.00     $15,662.50
         Other Adversary Proceedings (B011)                                     15.60     $15,648.00
         Plan and Disclosure Statement (B012)                                   18.80     $19,384.50
         Retention of Professionals / Fee Issues (B017)                          5.70         $3,463.00
         Fee Application Preparation (B018)                                      2.50         $1,752.50
         Voyager Litigation and Claims (BN015)                                   1.10         $1,083.50
         TOTALS                                                                122.00    $113,168.50




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                                         EXPENSE SUMMARY

                                Expenses Category                             Total Expenses
         Reproduction Charges                                                           $189.90
         TOTAL DISBURSEMENTS                                                            $189.90




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                     )
             In re:                                                  )    Chapter 11
                                                                     )
             FTX TRADING LTD., et al.,1                              )    Case No. 22-11068 (JTD)
                                                                     )
                            Debtors.                                 )    (Jointly Administered)
                                                                     )
                                                                     )     Objection Deadline:
                                                                     )     April 1, 2024 at 4:00 p.m. (ET)

                  FOURTEENTH MONTHLY FEE APPLICATION OF YOUNG CONAWAY
                   STARGATT & TAYLOR, LLP, AS CO-COUNSEL FOR THE OFFICIAL
                   COMMITTEE OF UNSECURED CREDITORS, FOR ALLOWANCE OF
                     COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                   THE PERIOD FROM JANUARY 1, 2024 THROUGH JANUARY 31, 2024

                          Pursuant to section 330 and 331 of title 11 of the United States Code, 11 U.S.C.

         §§ 101-1532 (the “Bankruptcy Code”), and Rule 2016 of the Federal Rules of Bankruptcy

         Procedure, the law firm of Young Conaway Stargatt & Taylor, LLP (hereinafter “Young

         Conaway”) hereby moves the Court for reasonable compensation for professional legal services

         rendered as co-counsel to the Official Committee of Unsecured Creditors appointed in these

         chapter 11 cases (the “Committee”) in the amount of $113,168.50, together with reimbursement

         for actual and necessary expenses incurred in the amount of $189.90, for the period January 1,

         2024 through and including January 31, 2024 (the “Fee Period”). In support of its Application,

         Young Conaway respectfully represents as follows:

                          1.       Young Conaway was employed to represent the Committee in connection

         with these chapter 11 cases, pursuant to an order entered by the Court on February 8, 2023 [D.I.



         1
           The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor
         entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. A complete list of such information may be obtained on the website of
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         657] (the “Young Conaway Retention Order”). The Young Conaway Retention Order authorized

         Young Conaway to be compensated on an hourly basis and to be reimbursed for actual and

         necessary out-of-pocket expenses.

                        2.      All services for which compensation is requested by Young Conaway were

         performed for or on behalf of the Committee.

                                    SUMMARY OF SERVICES RENDERED

                             3. Attached hereto as Exhibit A is a detailed statement of fees incurred during

         the Fee Period, showing the amount of $113,168.50 due for fees.

                        4.      The services rendered by Young Conaway during the Fee Period are

         grouped into the categories set forth in Exhibit A. The attorneys and paralegals who rendered

         services relating to each category are identified, along with the number of hours for each individual

         and the total compensation sought for each category, in Exhibit A.

                                                DISBURSEMENTS

                        5.      Attached hereto as Exhibit B is a detailed statement of expenses paid during

         the Fee Period, showing the amount of $189.90 for reimbursement of expenses. This disbursement

         sum is broken down into categories of charges, including, among other things, telephone and

         telecopier toll and other charges, mail and express mail charges, special or hand delivery charges,

         document processing, photocopying charges, charges for mailing supplies (including, without

         limitation, envelopes and labels) provided by the Firm to outside copying services for use in mass

         mailings, travel expenses, expenses for “working meals,” computerized research, transcription

         costs, as well as non-ordinary overhead expenses such as secretarial and other overtime. A

         complete review by category of the expenses incurred for the Fee Period may be found attached

         hereto as Exhibit B. To the extent such itemization is insufficient to satisfy the requirements of

         Rule 2016-2(e)(ii) of the Local Rules of Bankruptcy Practice and Procedure for the United States
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         Bankruptcy Court for the District of Delaware (the “Local Rules”), Young Conaway respectfully

         requests that the Court waive strict compliance with such Local Rule.

                        6.      Pursuant to Local Rule 2016-2, Young Conaway represents that: (i) its rate

         for copying charges is $0.10 per page for black and white copies and $0.80 per page for color

         copies; (ii) its rate for outgoing telecopier transmissions is $0.25 per page (excluding related long

         distance transmission charges) with no charge for incoming telecopier transmissions; and (iii) there

         is no surcharge for computerized research.

                                           VALUATION OF SERVICES

                        7.      Attorneys and paraprofessionals of Young Conaway have expended a total

         of 122.00 hours in connection with this matter during the Fee Period.

                             8. The amount of time spent by each of these persons providing services to the

         Committee for the Fee Period is fully set forth in the detail attached hereto as Exhibit A. The

         hourly rates set forth therein are Young Conaway’s normal hourly rates of compensation for work

         of this character. The reasonable value of the services rendered by Young Conaway for the Period

         as co-counsel for the Committee is $113,168.50.

                        9.      In accordance with the factors enumerated in section 330 of the Bankruptcy

         Code, the amount requested is fair and reasonable given (i) the complexity of these chapter 11

         cases, (ii) the time expended, (iii) the nature and extent of the services rendered, (iv) the value of

         such services, and (v) the costs of comparable services other than in a case under chapter 11 of the

         Bankruptcy Code. In addition, Young Conaway has reviewed the requirements of Local Rule

         2016-2 and believes that this Application complies with the requirements set forth therein.




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                                                CONCLUSION

                         WHEREFORE, Young Conaway requests that allowance be made to it in the sum

         of $113,168.50 as compensation for necessary professional services rendered to the Committee for

         the Fee Period, and the sum of $189.90 for reimbursement of actual necessary costs and expenses

         incurred during that period, and further requests such other and further relief as the Court may

         deem just and proper.

             Dated: March 11, 2024             YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    Wilmington, Delaware
                                               /s/ Robert F. Poppiti, Jr.
                                               Matthew B. Lunn (No. 4119)
                                               Robert F. Poppiti, Jr. (No. 5052)
                                               1000 North King Street
                                               Wilmington, DE 19801
                                               Telephone: (302) 571-6600
                                               Facsimile: (302) 571-1253
                                               Email: mlunn@ycst.com
                                                      rpoppiti@ycst.com

                                               -and-

                                               PAUL HASTINGS LLP
                                               Kristopher M. Hansen*
                                               Erez E. Gilad*
                                               Gabriel E. Sasson*
                                               200 Park Avenue
                                               New York, NY 10166
                                               Telephone: (212) 318-6000
                                               Facsimile: (212) 319-4090
                                               Email: krishansen@paulhastings.com
                                                      erezgilad@paulhastings.com
                                                      gabesasson@paulhastings.com

                                               * Admitted pro hac vice

                                               Counsel to the Official Committee
                                               of Unsecured Creditors




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                    CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 2016-2

                         I, Robert F. Poppiti, Jr., hereby certify as follows:

                         1.     I am a partner in the applicant firm, Young Conaway Stargatt & Taylor,

         LLP (“Young Conaway”), and have been admitted to the bar of the Supreme Court of Delaware

         since 2007.

                         2.     I have personally performed many of the legal services rendered by Young

         Conaway, as co-counsel for the Committee, and am generally familiar with all other work

         performed on behalf of the Committee by the lawyers and paraprofessionals in the firm.

                         3.     The facts set forth in the foregoing Application are true and correct to the

         best of my knowledge, information, and belief. Moreover, I have reviewed the requirements of

         Rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure of the United States

         Bankruptcy Court for the District of Delaware and submit that the Application complies with such

         requirements.

         Dated: March 11, 2024

                                                                /s/ Robert F. Poppiti, Jr.
                                                                Robert F. Poppiti, Jr. (No. 5052)




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